                                                                                      03/01/2018
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

 CHRISTOPHER CANTWELL,                         )
      Plaintiff,                               )       Civil Action No. 3:17cv00089
                                               )
 v.                                            )       ORDER
                                               )
 EMILY GORCENSKI, et al.,                      )       By:    Joel C. Hoppe
      Defendants.                              )       United States Magistrate Judge

        This matter is before the Court on Plaintiff’s Motion for Enlargement of Time. ECF No.

 17. Plaintiff seeks additional time to submit a Rule 26(f) report. Subsequent to filing the motion,

 Plaintiff filed a Rule 26(f) Report. Thus, the motion is hereby DENIED AS MOOT.

        Also before the Court is Defendants/Counter Claimants’ discovery letter, which

 addresses their position on the case schedule and requests that the style of the case be amended

 to reflect Emily Gorcenski’s legal name. ECF No. 15. Defendants/Counter Claimants’ counsel

 represents that Emily Gorcenski changed her name by court order from Edward to Emily.

 Plaintiff’s counsel appears to acquiesce in this request. The Court finds this request appropriate

 and DIRECTS that the style of the case shall be AMENDED to identify Defendant/Counter

 Claimant as Emily Gorcenski, rather than Edward J. Gorcenski.

        The Court will hold a Rule 16 scheduling conference with the parties in the near future.

 The parties are DIRECTED to confer on the topics detailed in Rule 26(f) in advance of the

 scheduling conference.

        It is so ORDERED.

                                               ENTER: March 1, 2018



                                               Joel C. Hoppe
                                               United States Magistrate Judge




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